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                                           6                              IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                           9
                                          10   JULIA SMITH,
For the Northern District of California




                                          11                 Plaintiff,                                    No. C 16-04101 WHA
    United States District Court




                                          12     v.
                                          13   CONSTELLATION BRANDS, INC.,                                 JUDGMENT
                                               a Delaware corporation, and DOES 1
                                          14   through 50, inclusive,
                                          15                 Defendants.
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                                          17          For the reasons stated in the accompanying order dismissing the action, FINAL

                                          18   JUDGMENT IS HEREBY ENTERED in favor of defendant Constellation Brands, Inc., and against

                                          19   plaintiff Julia Smith. The Clerk SHALL CLOSE THE FILE.

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                                          21          IT IS SO ORDERED.

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                                          23   Dated: January 19, 2017.
                                                                                                  WILLIAM ALSUP
                                          24                                                      UNITED STATES DISTRICT JUDGE
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